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        4.       Discovery of Confidential Information. Discovery and production of

confidential information will be governed by any Protective Order entered by the Court in this

Action. When sending discovery requests, notices, and subpoenas to non-parties, the Parties

must include copies of any Protective Orders then in effect. Unless and until the Court enters a

protective order, the Court’s Default Protective Order in Complex Cases will apply to all

documents and materials produced, including Investigative Materials and any materials produced

by a third party.3 The Parties will meet and confer in good faith within 7 days after the entry of

the Initial Case Management Order and will propose for the Court’s entry a Proposed Protective

Order. Under the Court’s Default Protective Order in Complex Cases, documents and

information that any Party in good faith believes are confidential may be produced in discovery

with the designation “Confidential Pursuant to the Court’s Default PO,” except that

Investigation Materials need not be stamped to receive protection. Unless and until such

designation is altered or removed by the Parties’ agreement or by court order, a so-designated

document may be accessed only by the Parties’ outside counsel and the Court.

        5.       Investigation Materials

        (a)      Definitions. For purposes of this Scheduling and Case Management Order, the

following definitions apply:

                 (i)      “Action” means the above-captioned action pending in this Court,

including any related discovery, pretrial, trial, post-trial, or appellate proceedings.




3
 See United States District Court, District of Massachusetts, Standing Order Re: Default Protective Order in
Complex Cases (Sept. 6, 2017), available at
https://www.mad.uscourts.gov/boston/pdf/sorokin/LTS StandingOrderReDefaultPO.pdf.



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                  (ii)     “Investigation Materials”4 means documents, information, transcripts of

testimony or other materials prior to September 21, 2021 that (1) any non-party (excluding any

non-Plaintiff Investigating State) provided to Defendants, to the U.S. Department of Justice or to

any Plaintiff States (including materials provided indirectly through a non-Plaintiff Investigating

State), either voluntarily or under compulsory process concerning the Investigation, (2)

Defendants, the U.S. Department of Justice or the Plaintiff States provided to any non-Party

(excluding any non-Plaintiff Investigating State) concerning the Investigation, or (3) that

Defendants have provided to the U.S. Department of Justice or to the Plaintiff States during the

Investigation.

                  (iii)    “Investigating States” means the States of New York, Arizona, California,

Florida, Massachusetts, Pennsylvania, Virginia, and the District of Columbia.

                  (iv)     “Northeast Alliance” means the series of agreements between American

Airlines Group Inc. and JetBlue Airways Corporation as described in the Parties’ Northeast

Alliance Agreement and related agreements.

                  (v)      “Party” means any Plaintiff or any Defendant in this Action. “Parties”

means collectively Plaintiffs and Defendants in this Action.

                  (vi)     “Plaintiffs” means the U.S. Department of Justice and the Plaintiff States,

and all of their employees, agents, and representatives.

                  (vii)    “Plaintiff States” means the States of Arizona, California, Florida,

Massachusetts, Pennsylvania, Virginia, and the District of Columbia, and any other state that

joins this Action.



4
  The definition of “Investigation Materials” is without prejudice to any positions the Parties may take regarding
responsiveness and privilege in connection with the Parties’ requests for document production and any responses
and objections thereto.

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                (viii) “Relevant Materials” means (A) documents; (B) data; (C) correspondence;

(D) transcripts of testimony; and (E) witness statements, including draft and final versions of

declarations and affidavits, letters relating to draft and final versions of declarations and

affidavits, and transcripts.

        (b)     Production. Consistent with the schedule above, the Parties will produce all

Investigation Materials, regardless of whether the materials were collected or received informally

or through compulsory process (such as a subpoena or Civil Investigative Demand) and

regardless of whether a Party collected or received the materials in hard-copy or electronic form,

except that (i) Plaintiffs need not produce to Defendants the Investigation Materials that any

Plaintiff received from any Defendant directly or indirectly through production to any Plaintiff or

Investigating State; and (ii) Defendants need not produce to Plaintiffs the Investigation Materials

that they have previously produced to any Plaintiff.

        (c)     Privilege. Pursuant to Federal Rule of Evidence 502(d), the production of

Investigation Materials does not constitute a waiver of any protection that would otherwise apply

to any other attorney work product, confidential attorney-client communications, or materials

subject to the deliberative-process or any other governmental privilege concerning the same

subject matter as such Investigation Materials.

        (d)     Prior Investigations. Nothing in this Order requires the disclosure of Relevant

Materials obtained by Plaintiffs during an investigation or litigation other than investigation of

the Northeast Alliance except to the extent that Plaintiffs have used said materials in connection

with their investigation of the Northeast Alliance or this litigation. In no event shall Plaintiffs be

permitted to use any such Relevant Materials at trial if they were not disclosed to Defendants

before the close of fact discovery.



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         6.    Statement Regarding Local Civil Rule 16.1(b)(3): Assignment to Magistrate

Judge. The Parties do not believe at this time that this matter should be tried by a magistrate

judge.

         7.    Statement Regarding Local Civil Rules 16.1(d)(3) and 16.4: Settlement

Possibilities and ADR. All Parties have engaged in good-faith settlement negotiations, but

despite their efforts, have not been able to settle the matter. After considering the costs of

conducting the full course of the litigation, the Parties do not believe that this case would benefit

from some form of alternative dispute resolution.

         8.    Timely Service of Fact Discovery and Supplemental Discovery. All discovery,

including discovery served on non-parties, must be served in time to permit completion of

responses by the close of fact discovery, except that Supplemental Discovery must be served in

time to permit completion of responses by the close of Supplemental Discovery. For purposes of

this Order, “Supplemental Discovery” means document and deposition discovery of non-parties

and deposition discovery as to Parties, related to any person identified on a Party’s final trial

witness list who was not identified on that Party’s initial trial witness list. Depositions and

requests for production that are part of Supplemental Discovery must be noticed or served within

7 days of exchanging the final trial witness lists.

         9.    Subpoenas. A Party may serve a subpoena of the type described in Federal Rule

of Civil Procedure 45(a) at any time after serving on the other Parties a notice and a copy of the

subpoena.

         10.   Written Discovery on Parties.

         (a)   Document Requests. Any discovery requests must be proportional to the needs

of the case as required by Federal Rule of Civil Procedure 26(b)(1). Consistent with the



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schedule set forth in this Order, any second request for production must be served no later than

75 days before the close of fact discovery. A Party may serve reasonably limited requests for

production later than 75 days before the close of fact discovery only to the extent that it seeks

information that the Party did not reasonably know to request in either the first or the second

request for production (e.g., related to information discovered during the course of a deposition,

related to information produced by a Party after the deadline for serving second requests for

production, or public announcements by a Party). In all instances, any additional request for

production must be served no later than 30 days before the close of fact discovery.

       The Parties must serve any objections to first requests for production of documents

within 20 days after those requests are served, and must serve any objections to second requests

for production of documents within 14 days after those requests are served. The Parties must

make good-faith efforts to make rolling productions of responsive productions (to the extent not

subject to any objections that have not been resolved), including any portion(s) of responsive

productions that are not subject to any objections beginning no later than 45 days after service of

the request for production. The Parties must make good-faith efforts to substantially complete

responsive productions in response to any first request for production of documents no later than

90 days after service of the requests for production, and must make good-faith efforts to

substantially complete responsive productions in response to any second request for production

of documents no later than 75 days after service of the requests for production. Within 5 days of

service of any objections, the Parties must meet and confer to attempt to resolve in good faith

any objections and to agree on custodians to be searched. Should any objections or custodian

issues remain unresolved after such meet and confer, the Parties must make good-faith efforts to

substantially complete such remaining responsive productions no later than the later of (i) 45



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days after resolution of such objections or custodian issues, or (ii) (a) 90 days after the service of

any first request for production of documents, or (b) 75 days after the service of any second

request for production of documents.

       (b)       Data Requests. In response to any requests where data or data compilations are

responsive, the Parties will meet and confer in good faith regarding the requests and, as needed,

will seek prompt assistance from employees knowledgeable about the content, storage, and

production of data.

       (c)       Interrogatories. Interrogatories are limited to 20 (including discrete subparts) by

Plaintiffs collectively to Defendants and to 20 (including discrete subparts) by Defendants

collectively to Plaintiffs, except that any Interrogatory served on all Plaintiffs or all Defendants

shall count as a single interrogatory.

       (d)       Requests for Admission. Requests for admission are limited to 15 by Plaintiffs

collectively to Defendants and to 15 by Defendants collectively to Plaintiffs, except that any

Request for Admission served on all Plaintiffs or all Defendants shall count as a single request

for admission.

       11.       Written Discovery on Non-Parties. The Parties will in good faith cooperate

with each other with regard to any discovery to non-parties in an effort to minimize the burden

on non-parties. Each Party must serve a copy of any subpoena to a non-party on the other Parties

at the same time as the subpoena is served on the non-party. Every subpoena to a non-party shall

include a cover letter requesting that (a) the non-party Bates-stamp each document with a

production number and any applicable confidentiality designation prior to producing it; and (b)

the non-party provide to the other Parties copies of all productions at the same time as they are

produced to the requesting Party. If a non-party fails to provide copies of productions to the



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other Parties, the requesting Party shall provide such copies to the other Parties, in the format the

productions were received by the requesting Party, within 3 business days of the requesting Party

receiving such materials from the non-party. In addition, if a non-Party produces documents or

electronically stored information that are not Bates-stamped, the Party receiving those materials

shall request that the non-party Bates-stamp all documents or electronically stored information

and produce such Bates-stamped copies to all Parties simultaneously. Within 2 business days of

any agreement with a non-party, each Party must provide the other Parties with a copy of any

written communication (including email) with any non-party concerning any modifications,

extensions, or other negotiations concerning the non-party’s response to the subpoena, or in the

case of an oral modification, a written record summarizing the oral modification.

       12.     Depositions. Each side is limited to 35 fact depositions of witnesses. Each

deposition of a Party to be taken under Federal Rule of Civil Procedure 30(b)(6) counts as one

deposition, regardless of the number of witnesses produced to testify on the matters for

examination in that deposition. The following depositions do not count against the deposition

caps imposed by the preceding sentences: (a) of any persons identified on a Party’s final trial

witness list who were not identified on that Party’s preliminary trial witness list; (b) depositions

of the Parties’ designated expert witnesses; (c) depositions taken in response to Civil

Investigative Demands; and (d) depositions taken for the sole purpose of establishing the

location, authenticity, or admissibility of documents produced by any Party or non-party,

provided that such depositions may be noticed only after the Party taking the deposition has

taken reasonable steps to establish location, authenticity, or admissibility through other means,

and further provided that such depositions must be designated at the time that they are noticed as




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being taken for the sole purpose of establishing the location, authenticity, or admissibility of

documents.

        The Parties will cooperate in good faith to reduce the burden on witnesses noticed for

depositions and to accommodate the witnesses’ schedules, and will make reasonable efforts to

make witnesses available for deposition within 21 days’ notice. Depositions shall be conducted

in the locations where witnesses reside or are employed, unless the Parties (or the Parties and

non-parties in the context of non-Party depositions) stipulate otherwise. The Parties will meet

and confer in good faith within 7 days after the entry of the Initial Case Management Order and

will propose for the Court’s entry a Deposition Protocol to govern the taking of any depositions,

including the taking of any deposition remotely.

        If a Party serves a non-Party a subpoena for the production of documents or electronically

stored information and a subpoena commanding attendance at a deposition, the Party serving

those subpoenas must schedule the deposition for a date at least 7 business days after the return

date for the document subpoena, and if the Party serving those subpoenas agrees to extend the

date of production for the document subpoena in a way that would result in fewer than 5 business

days between the extended production date and the date scheduled for that non-party’s

deposition, the date scheduled for the deposition must be postponed to be at least 7 business days

following the extended production date, unless all other Parties consent to fewer than 7 business

days.

        Depositions of fact witnesses are limited to no more than one (7-hour) day unless

otherwise stipulated. A Plaintiff noticing a deposition may cede some or all of its examination

time to another Plaintiff. A Defendant noticing a deposition may cede some or all of its

examination time to another Defendant.



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       During non-Party depositions, the non-noticing side will receive at least two hours of

examination time. If a non-Party deposition is noticed by both sides, then time will be divided

equally between the sides, and the deposition of the non-party will count as one deposition for

both sides. Any time allotted to one side not used by that side in a non-party deposition may be

used by the other side up to the seven (7) hours limit in total. Any objection made by any Party

in a deposition preserves that objection for every Party.

       Plaintiffs may take one seven (7) hour deposition pursuant to Rule 30(b)(6) of the Federal

Rules of Civil Procedure of each Defendant. Defendant may take one seven (7) hour deposition

pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure of Plaintiffs. Each deposition

to be taken under Rule 30(b)(6) of the Federal Rule of Civil Procedure counts as one deposition,

regardless of the number of witnesses produced to testify on the matters for examination in that

deposition. The Parties shall use reasonable efforts to reduce the burden on witnesses noticed for

depositions and to accommodate the witnesses’ schedules.

       13.     Privilege Logs. The Parties will meet and confer in good faith within 7 days after

the entry of the Initial Case Management Order and will propose for the Court’s entry a Protocol

to govern ESI and privilege logs.

       14.     Evidence from a Foreign Country. The Parties will meet and confer in good

faith within 7 days after the entry of the Initial Case Management Order and will propose for the

Court’s entry a Protocol to govern ESI and privilege logs.

       15.     Inadvertent Production of Privileged or Work-Product Documents or

Information. Pursuant to Federal Rule of Evidence 502(d), the production of a document or

information subject to a claim of attorney-client privilege, work-product immunity, or any other

privilege or immunity under relevant federal case law and rules does not waive any claim of



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privilege, work product, or any other ground for withholding production to which the Party

producing the documents or information otherwise would be entitled, provided that (a) the

production was inadvertent; (b) the Party producing the documents or information used

reasonable efforts to prevent the disclosure of documents or information protected by the

attorney-client privilege, work-product immunity, or any other privilege or immunity; and (c) the

Party producing the documents or information promptly took reasonable steps after discovering

the inadvertent disclosure to rectify the error, including following Federal Rule of Civil

Procedure 26(b)(5)(B).

        16.     Presumptions of Authenticity. The Parties will meet and confer in good faith

within 7 days after the entry of the Initial Case Management Order and will propose for the

Court’s entry a Protocol to govern ESI and privilege logs.

        17.     Expert Witness Disclosures and Depositions. The Parties will meet and confer

in good faith within 7 days after the entry of the Initial Case Management Order and will propose

for the Court’s entry an Expert Discovery Protocol to govern expert discovery, including the

taking of any expert depositions.

        18.     Witness Lists. Plaintiffs collectively are limited to 25 persons (including experts)

on their initial trial witness list, and Defendants collectively are limited to 25 persons (including

experts) on their initial trial witness list. Plaintiffs collectively are limited to 20 persons

(including experts) on their final trial witness list, and Defendants collectively are limited to 20

persons (including experts) on their final trial witness list. Each side’s final trial witness list may

identify no more than 4 witnesses that were not identified on that side’s preliminary trial witness

list. If any new witnesses are added to a final trial witness list that were not on that side’s

preliminary trial witness list, discovery may be had with respect to such person(s), even if out of



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time, and the provisions of Paragraph 8 on Supplemental Discovery shall apply. A deposition(s)

by the other side of such witness(es) will not count against the other side’s total depositions.

        No Party may call a person to testify as a live witness at trial unless (a) that person was

identified on any Party’s final trial witness list; (b) all Parties agree that that Party may call that

person to testify; or (c) that Party demonstrates good cause for allowing it to call that person to

testify, despite that Party’s failure to identify that person sooner. Witnesses whose testimony

will be offered into evidence at trial through designated portions of their deposition testimony

need not be identified on trial witness lists, and those witnesses do not count against the limits on

the numbers of persons who may be identified on those lists.

        19.     Service of Pleadings and Discovery on Other Parties. Service of all pleadings,

discovery requests (including subpoenas for testimony or documents under Federal Rule of Civil

Procedure 45), expert disclosures, and delivery of all correspondence in this matter must be made

by ECF if required by applicable rule or otherwise by email, except when the volume of

attachments requires overnight delivery of the attachments or personal delivery, to the following

individuals designated by each Party:

                For Plaintiff United States of America:

                        William H. Jones II (Bill.Jones2@usdoj.gov)
                        Kate M. Riggs (Kate.Riggs@usdoj.gov)
                        James H. Congdon (James.Congdon@usdoj.gov)
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     For Plaintiff Commonwealth of Pennsylvania:


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               For Defendant JetBlue Airways Corporation:

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                      Matthew L. Craner
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                      New York, NY 10022
                      Telephone: (212) 848-5445
                      rschwed@shearman.com
                      matthew.craner@shearman.com

       For purposes of calculating discovery response times, electronic delivery at the time the

email was received will be treated in the same manner as hand delivery at that time.

       20.     Nationwide Service of Trial Subpoenas. To assist the Parties in planning

discovery, and in view of the geographic dispersion of potential witnesses in this action outside

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this District, the Parties are permitted, under 15 U.S.C. § 23, to issue trial subpoenas that may

run into any other federal district requiring witnesses to attend this Court.

       21.     Modification of Scheduling and Case Management Order. Any Party may

seek modification of this Order for good cause, except that the Parties may also agree to modify

discovery and expert disclosure deadlines by agreement.


                                                              SO ORDERED:


                                                                /s/ Leo T. Sorokin

                                                              LEO T. SOROKIN
                                                              United States District Judge
Dated: ____________,
         November 29 2021




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